[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION de: DEFENDANT'S POST JUDGMENT MOTION FOR ATTORNEY'S FEES (#160)
The defendant successfully defended the plaintiff's Motion de College Expenses (#122) denied by the court on June 8, 1998 (#153). The defendant successfully defended the plaintiff's Motion For Contempt (#131) for failing to pay child support denied by the court on June 8, 1998 by order written on the motion.
The defendant has now moved, pursuant to § 46b-87 for attorney's fees.
Motion is granted. The plaintiff is ordered to pay the defendant the sum of $2,500 due on or before November 15, 1998.
Harrigan, J.
CT Page 2055